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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF KENTUCKY
                      NORTHERN DIVISION AT COVINGTON


 JUDITH MURPHY WARREN                           :    Case No.: 2:16-CV-00011-WOB-JGW
                                                :
              Plaintiff,                        :
                                                :
       v.                                       :
                                                :
 KERRY ROCKFORD, INC.                           :    VOLUNTARY DISMISSAL
 d.b.a. PILOT FREIGHT SERVICES and              :    WITH PREJUDICE
 IDEAL HR SOLUTIONS, LLC                        :
                                                :
              Defendants.                       :

       Plaintiff hereby voluntarily dismisses her case with prejudice.


                                             Respectfully submitted,


                                              /s/ Brian P. Gillan
                                             Brian P. Gillan (admitted pro hac vice)
                                             Randolph H. Freking (KBA# 23509)
                                             Trial Attorneys for Plaintiff
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2016, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system

 and copies will be mailed via U.S. mail, email and/or facsimile to those parties who are not

 served via the Court’s electronic filing system. Parties may access this filing through the Court’s

 System.


                                                 /s/ Brian P. Gillan
